            Case 5:14-cv-01262-D Document 43 Filed 06/23/17 Page 1 of 2
Appellate Case: 17-6078 Document: 01019830635 Date Filed: 06/23/2017 Page: 1
                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                   Tenth Circuit

                               FOR THE TENTH CIRCUIT                              June 23, 2017
                           _________________________________
                                                                               Elisabeth A. Shumaker
                                                                                   Clerk of Court
  CHRIS I. ROBISON,

        Plaintiff - Appellant,

  v.                                                           No. 17-6078
                                                        (D.C. No. 5:14-CV-01262-D)
  RELIANCE STANDARD LIFE
  INSURANCE COMPANY,

        Defendant - Appellee.
                        _________________________________

                                        ORDER
                           _________________________________



         In accordance with 10th Cir. R. 33.1 and upon consideration of the stipulation of

  the parties to voluntarily dismiss the captioned appeal, this appeal is dismissed. See Fed.

  R. App. P. 42(b).

         Each party will bear their own costs on appeal. A copy of this order will stand as

  the mandate of the court.


                                                Entered for the Court



                                                ELISABETH A. SHUMAKER, Clerk
            Case 5:14-cv-01262-D Document 43 Filed 06/23/17 Page 2 of 2
Appellate Case: 17-6078 Document: 01019830636 Date Filed: 06/23/2017 Page: 1
                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
  Elisabeth A. Shumaker                                                          Chris Wolpert
  Clerk of Court                          June 23, 2017                     Chief Deputy Clerk




  Mr. Rex D. Brooks
  Rex D. Brooks, Attorney at Law
  1904 N. W. 23rd Street
  Oklahoma City, OK 73106-0000

  RE:       17-6078, Robison v. Reliance Standard Life Ins.
            Dist/Ag docket: 5:14-CV-01262-D

  Dear Counsel:

  Enclosed is a copy the court's final order issued today in this matter.

  Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court



  cc:       Joshua Bachrach




  EAS/jm
